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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                    :
                                             :
              Plaintiff,                     :
                                             :
       v.                                    :   Civil Action No. 19-0519
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation;                                 :
                                             :
JOSE BENITEZ, as President and               :
Treasurer of Safehouse,                      :
                                             :
            Defendants.                      :
____________________________________         :
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation,                                 :
                                             :
              Counterclaim Plaintiff,        :
                                             :
       v.                                    :
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
              Counterclaim Defendant,        :
                                             :
       and                                   :
                                             :
U.S. DEPARTMENT OF JUSTICE;                  :
MERRICK B. GARLAND, in his official          :
capacity as Attorney General of the United   :
States; and JACQUELINE C. ROMERO,            :
in her official capacity as U.S. Attorney    :
for the Eastern District of Pennsylvania     :
                                             :
              Third-Party Defendants.        :
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                   STIPULATED AMENDED SCHEDULING ORDER

       IT IS HEREBY STIPULATED AND AGREED by and between the counsel for the parties

as follows:

       1.     The United States shall respond to Safehouse’s Amended Counterclaims for

Declaratory and Injunctive Relief by July 21, 2023, by way of answer and/or appropriate Rule 12

motion.

       2.     Safehouse shall file any brief in opposition by August 15, 2023.

       3.     The United States shall file any reply by September 8, 2023.


Respectfully submitted,


 JACQUELINE C. ROMERO                           DLA PIPER LLP (US)
 United States Attorney

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                                            Attorneys for Safehouse and Jose Benitez




               28th day of _______________
Approved this _____          June          2023.


                                                    /s/ Gerald Austin McHugh
                                                   United States District Judge
